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                            UNITED STATES DISTRICT COURT
                                 DISTRICT OF KANSAS

LAMONTE MCINTYRE and                            )
ROSE LEE MCINTYRE,                              )
                                                )
              Plaintiffs,                       )
                                                )
       v.                                       )   Case No. 2:18-CV-02545-KHV-KGG
                                                )
UNIFIED GOVERNMENT OF                           )
WYANDOTTE COUNTY, et al.,                       )
                                                )
              Defendants.                       )

     DEFENDANT ROGER GOLUBSKI’S ADDITIONAL BRIEFING PURSUANT TO
       COURT ORDER REGARDING COUNT V FOR CONSPIRACY [DOC. 626]

       COME NOW Defendant Roger Golubski and pursuant to the Court’s Order, provides the

following additional briefing regarding Count V for conspiracy [Doc. No. 626]:

I.     STATEMENT OF THE NATURE OF THE MATTER BEFORE THE COURT

       On May 3, 2022, the Court entered the following regarding Defendant’s Motion for

Summary Judgment as it relates to Count V:

       In addition, in the summary judgment briefing, the parties do not address how the
       presence of the conspiracy claims impacts their arguments. Specifically, in
       determining whether the alleged conspiracy existed, the jury might consider the
       actions and statements of any of the alleged participants, and the agreement or
       understanding could be inferred from all the circumstances and the conduct of the
       alleged participants; it might not be necessary that all acts done in furtherance of
       the conspiracy be in themselves unlawful; it might not be necessary that defendants
       have personally committed each act, known about it or witnessed it; and it might
       make no difference which of the conspirators did the act, because each member of
       a conspiracy would an agent or partner of every other member and each member
       would be bound by or responsible for the acts of every other conspirator done to
       further their scheme. Furthermore, it might not be necessary that the alleged
       conspirators actually succeed in accomplishing their unlawful plan. Finally, under
       Rule 801(d)(2), Fed. R. Evid., certain out-of-court statements of the conspirators
       would not be hearsay. The Court therefore ORDERS that no later than 5:00 PM on
       Monday, May 9, 2022, Golubski, Krstolich, Ware, Barber and Culp file
       supplemental authorities and argument in support of their motions for summary
       judgment, which address how the presence of the conspiracy claims impacts their
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        arguments.

Doc. No. 626.

II.     SUPPLEMENTAL ARGUMENTS AND AUTHORITIES

        A.    The “Meeting of the Minds” Requirement of Conspiracy

        Despite this Court ordering the Plaintiffs to supplement their factual basis for each legal

theory in the Pretrial Order by “very briefly” stating the factual theory for each claim as to each

defendant [Doc. No. 623], Plaintiffs, in their supplement [Doc. No. 632] as to Count V’s

conspiracy claim, have yet to identify any facts that the Defendants had a meeting of the minds or

formed an agreement to deprive Lamonte McIntyre of his constitutional rights. Rather, they

ignore, almost completely, the element requiring them to demonstrate an agreement, and instead

focus on the parallel activity of the alleged co-conspirators from which they hope the Court, and a

jury would unreasonably and impermissibly infer an agreement. 1                    Importantly, “parallel

constitutional violations, standing alone, fail to bespeak agreement between the police

defendants”. Diaz-Martinez v. Miami-Dade Cty., No. 07-20914-CIV, 2009 WL 2970468, *9 (S.D.

Fla. Sept. 10, 2009). And if parallel violations are inadequate, then parallel conduct is woefully

inadequate.

        Plaintiffs must come forth with facts that could lead a reasonable jury to conclude that the

officers alleged to be part of the conspiracy agreed to more than simply investigating and

prosecuting Lamonte McIntyre because such an objective would not be, in and of itself, unlawful.

See Crowe v. County of San Diego, 608 F.3d 406, 440–41 (9th Cir. 2010) (Finding a “common

objective” to merely prosecute is insufficient; fair prosecution would not violate Plaintiff’s



1
  While Defendant Golubski has not, admittedly, been able to fully digest Plaintiff’s 41-page, single-spaced
supplement filed on Friday, May 6, 2022, a word search for “agree” revealed one instance in the elements of a
conspiracy claim, and a word search for “mind”—looking for a meeting of the minds—revealed no results.


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constitutional rights.); Beaman v. Souk, 7 F. Supp. 3d 805, 828 (C.D. Ill. 2014) (“Joint pursuit of

an investigation based on a belief a suspect is guilty is not an unlawful conspiracy.”). Instead,

there must be disputed material facts demonstrating that all participants agreed to frame Lamonte

McIntyre. This means that ultimately, Plaintiffs’ genuinely disputed facts must tend to show that

each alleged co-conspirator knew that Lamonte McIntyre was innocent, or at least that they knew

probable cause did not exist. This is a bar Plaintiffs fail to meet.

       Plaintiffs cite to no facts asserting when a conspiracy was entered, how it was entered into,

or the terms of such agreement—such as who would do what, when, how, and, most importantly,

for what purpose. Flowers v. Secrets Night Club, 2010 WL 4625396 at *4 (N.D. Ill. Nov. 2, 2010)

(Finding that pleading standard required allegations of the purpose of the conspiracy and the

approximate date of the conspiracy and finding that “Plaintiffs will have their work cut out for

them developing evidence of a conspiracy distinct from a run-of-the-mill case of a police officer

relying on an eyewitness.”) (Diaz-Martinez v. Miami-Dade Cty., No. 07-20914-CV, 2009 WL

2970471, *12 (S.D. Fla. June 9, 2009) (“Plaintiff does not include any specific allegations stating

when the conspiracy [sic] entered into, how the conspiracy was entered into, or the terms of the

alleged agreement”) report and recommendation adopted in part, No. 07-20914-CIV, 2009 WL

2970468, *9 (S.D. Fla. Sept. 10, 2009) (“parallel constitutional violations, standing alone, fail to

bespeak agreement between the police defendants”).

       “A party may not cry ‘conspiracy’ and throw himself on the jury’s mercy. Even if the jury

should disbelieve [the parties’ denies that a conspiracy existed] that would leave [Plaintiff] with

no evidence. There must be a genuine dispute about a material fact.” Gramenos v. Jewel

Companies, Inc., 797 F.2d 432, 436 (7th Cir. 1986).




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       B.      Presence of Conspiracy Claim’s Effect on Golubski’s Probable Cause
               Arguments under Malicious Prosecution Claim

       Golubski, in his Motion for Summary Judgment, argues that he was and is entitled to rely

upon the information provided to him by other officers which go toward the existence of probable

cause that Lamonte McIntyre was the shooter in the Ewing/Quinn homicides. Brandt v. City of

Westminster, 300 F. Supp. 3d 1259, 1273 (D. Colo. 2018) (quoting Oliver v. Woods, 209 F.3d

1179, 1190 (10th Cir. 2000)). Specifically, some such information provided to Defendant

Golubski was from Defendant’s Barber and Brown, and non-Defendant Detective Maskill.

       It is Defendant Golubski’s understanding of the Court’s Order [See Doc. No. 626] that the

Court wants Defendant Golubski to address how such information should be considered in light

of Plaintiff’s Conspiracy Claim in Count V. As an initial matter, neither Officer Brown nor

Detective Maskill are alleged co-conspirators. So there is no justification to exclude any of the

information they provided to Golubski. Thus, it would appear that the only other information at

issue was from Detective Barber. However, that information as well, should not be excluded from

the analysis as to whether Golubski reasonably believed probable cause existed.

       Because conspiracy liability only exists if there is constitutional deprivation found, it

follows then that neither the Court (nor a jury) can use the alleged existence of a conspiracy to find

a constitutional deprivation. Thus, Plaintiffs’ conspiracy claim has no impact on Golubski’s

summary judgment arguments as to the non-conspiracy claims asserted against him. Rather, “for

purposes of civil liability, the issue is … whether each individual defendant officer reasonably

believed there was probable cause to arrest plaintiff.” Holmes v. City of Chicago, 63 F.Supp.3d

806, 814 (N.D. Ill. August 6, 2014). “Stated slightly differently, the reasonableness of a seizure

turns on what the officer knew at the time of arrest, not whether he knew the truth or should have

known more.” Id. (dismissing malicious prosecution claims against secondary officers because



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they were not “bound by [primary officer’s] own knowledge” and “what was known to [secondary

officers] was that probable cause had been established” at the time of arrest) (addressing

conspiracy claim separately) (cleaned up).

       While Detective Barber is alleged to be part of the conspiracy, because the malicious

prosecution claim fails if probable cause exists, regardless of the motive or unlawful objective,

Plaintiffs would have to demonstrate—at least in the non-conspiracy malicious prosecution claim

against him—that Golubski knew the information from Barber (and others) going toward probable

cause was false or otherwise not reliable in order to succeed on his Fabrication and/or Malicious

Prosecution Claims. Further, any such finding by the Court or jury would render it impossible for

a reasonable inference to be drawn from any purported circumstantial evidence that Golubski

entered into an agreement for the unlawful purpose of framing Lamonte McIntyre.

       C.      Each alleged participant must have committed an unlawful act.

       “Kansas case law and binding precedent from the Tenth Circuit makes it clear: the

defendant against whom a civil conspiracy is alleged must personally have committed an

unlawful act. If the defendant himself has committed an unlawful act, then he also could be held

liable for an act done by another member of the conspiracy.” Rezac Livestock Comm'n Co., Inc.

v. Pinnacle Bank, 15-4958-DDC, 2019 WL 7116086, at *6–7 (D. Kan. Dec. 23, 2019) (quoting

Stoldt v. City of Toronto, Kan., 234 Kan. 957, 967 (Kan. 1984)). Id. (emphasis added) (citing

Vetter v. Morgan, 913 P.3d 1200, 1205–06 (Kan. Ct. App. 1995) (“When all elements are present,

any act done by a member of the conspiracy in furtherance of the common object and in accordance

with the general plan becomes the act of all, and each conspirator is responsible for the act....

Consequently, the existence of the conspiracy may be proved by proving the acts of the various

defendants.”)). As a result, before an action of another defendant could be imputed to any alleged




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co-conspirators that act must be unlawful. For example, for Defendant Barber’s information that

his numerous sources pointed him to “Lamonte McIntyre” to be an “unlawful act,” Plaintiffs are

required to come forth with supporting facts suggesting Barber himself knew this information to

be false, or did not reasonably rely on his sources.

III.    CONCLUSION

        WHEREFORE, for the above and foregoing reasons, Defendant Golubski suggests that the

presence of a conspiracy claim should have no bearing on the Court’s analysis of the direct

liability, non-conspiracy claims against him.




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                                 Respectfully submitted,

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                               CERTIFICATE OF SERVICE

       I hereby certify that, on May 9, 2022, the above and foregoing was electronically filed with
the Clerk of the Court to be served by operation of the Court’s electronic filing system upon all
counsel of record.

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